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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

TERRELL T. CASBY                                                 CIVIL ACTION

VERSUS                                                           NO. 20-3009

JAMES LEBLANC, et al.                                            SECTION M (5)

                                           ORDER

       Having considered the complaint, the record, the applicable law, the Report and

Recommendation of the United States Magistrate Judge (R. Doc. 13), and the failure of any party

to file an objection to the Report and Recommendation, the Court hereby approves the Report and

Recommendation and adopts it as its opinion in this matter. Therefore,

       IT IS ORDERED that plaintiff’s claim under the Religious Land Use and Institutionalized

Persons Act is DISMISSED AS MOOT.

       New Orleans, Louisiana, this 8th day of June, 2021.



                                           _________________________________
                                           BARRY W. ASHE
                                           UNITED STATES DISTRICT JUDGE
